         Case 2:10-md-02179-CJB-DPC Document 21471-1 Filed 08/11/16 Page 1 of 2




INVOICE	  #	   4930




In	  re	  Oil	  Spill	  by	  the	  Oil	  Rig	  "Deepwater	  Horizon"	                       Bill	  To:

Job:             2994                                                                                 Plaintiffs’	  Steering	  Committee
Invoice	  Date: 8/2/2016                                                                             820	  O'Keefe	  Ave
Due	  Date:     9/6/2016                                                                             New	  Orleans,	  LA	  70113



Other	  Costs

                                                                                    Hours	  Worked       Hourly	  Rate             Total

Elaine	  Pang:	  Director	  of	  Media	  Strategy                                  5.25                 $250.00               $1,312.50
Sali	  Hama:	  Senior	  Notice	  Program	  Manager                                 16.75                $200.00               $3,350.00
Shannon	  Wheatman:	  President                                                         2                  $500.00               $1,000.00

                                                                                                                	  Sub-­‐Total:   $5,662.50

Current	  Total	  Due
                                                                                                                                   $5,662.50
Payment	  Instructions

Wire	  Payment	  to:
ABA/Routing	  #	  (Wire	  or	  ACH):	  	  
Account#:	  	  
Account	  Name:	  	  Kinsella	  Media,	  LLC
Reference	  #:	  4930
Bank:	  	  Bank	  of	  Texas
Bank	  Contact:	  	  Mayra	  Landeros	  -­‐	  214.987.8817
Federal	  Tax	  ID:	  	  


Or	  Overnight	  Payment	  to:
SourceHOV
Attn:	  Bldg	  1,	  Drawer	  9065
2701	  E	  Grauwyler	  Rd
Irving,	  TX	  75061



                                                                                                                                   Exhibit A
                  Case 2:10-md-02179-CJB-DPC Document 21471-1 Filed 08/11/16 Page 2 of 2




                   KM	  Employee                           Date                                                        Description                                                          Hours   Hourly	  Rate     Total

Sali	  Hama:	  Senior	  Notice	  Program	  Manager    6/1/16                          Finalize	  estimate	  and	  schedule	  for	  implementation.                                   1       $200.00        $200.00

Sali	  Hama:	  Senior	  Notice	  Program	  Manager    6/1/16                         Finalize	  PSA	  recordings	  and	  respond	  to	  client	  emails.                          0.5      $200.00        $100.00

  Elaine	  Pang:	  Director	  of	  Media	  Strategy   6/2/16                                Enter	  newspaper	  line	  items	  into	  database.                                    1.75      $250.00        $437.50

Sali	  Hama:	  Senior	  Notice	  Program	  Manager    6/2/16                                    Work	  with	  vendor	  on	  finalizing	  PSAs.                                     0.25      $200.00         $50.00

Sali	  Hama:	  Senior	  Notice	  Program	  Manager    6/2/16                 Finalize	  estimate	  and	  schedule,	  and	  send	  to	  client	  for	  approval.                 0.5      $200.00        $100.00

       Shannon	  Wheatman:	  President                   6/3/16                                      Review	  supplemental	  declaration.                                                  1       $500.00        $500.00

  Elaine	  Pang:	  Director	  of	  Media	  Strategy   6/3/16                             Reserve	  media	  space	  with	  newspapers	  vendor.                                      0.5      $250.00        $125.00

Sali	  Hama:	  Senior	  Notice	  Program	  Manager    6/3/16                 Draft	  and	  execute	  supplemental	  declaration	  for	  media	  program.                           1       $200.00        $200.00

Sali	  Hama:	  Senior	  Notice	  Program	  Manager    6/3/16                   Create	  Word	  document	  of	  Mailer	  and	  send	  to	  administrator.                        0.25      $200.00         $50.00

  Elaine	  Pang:	  Director	  of	  Media	  Strategy   6/9/16                                            Traffic	  artwork	  to	  vendor.                                             1.25      $250.00        $312.50

Sali	  Hama:	  Senior	  Notice	  Program	  Manager    6/14/16              Submit	  press	  release	  to	  vendor;	  discuss	  requirements	  with	  the	  rep.                  1       $200.00        $200.00

Sali	  Hama:	  Senior	  Notice	  Program	  Manager    6/14/16     Review	  test	  email	  and	  long	  form	  notice	  layout.	  	  Send	  approval	  to	  administrator.     1       $200.00        $200.00

  Elaine	  Pang:	  Director	  of	  Media	  Strategy   6/22/16                                                 Collect	  tearsheets.                                                     0.5      $250.00        $125.00

Sali	  Hama:	  Senior	  Notice	  Program	  Manager    6/22/16                               Review	  PSA	  website	  and	  live	  press	  release.                                0.75      $200.00        $150.00


  Elaine	  Pang:	  Director	  of	  Media	  Strategy   6/30/16   Request,	  gather	  and	  input	  newspapers	  confirmation	  based	  on	  tearsheets	  received.              0.75      $250.00        $187.50


  Elaine	  Pang:	  Director	  of	  Media	  Strategy   7/18/16                Enter	  page	  #'s	  and	  verify	  tearsheets	  for	  implementation	  report.                     0.5      $250.00        $125.00

Sali	  Hama:	  Senior	  Notice	  Program	  Manager    7/18/16                    Draft	  implementation	  declaration.	  	  Prepare	  media	  report.                               3       $200.00        $600.00

                                                                      Draft	  implementation	  declaration.	  	  Email	  vendor	  regarding	  PSA.	  	  Confirm	  media	  
Sali	  Hama:	  Senior	  Notice	  Program	  Manager    7/19/16                                                                                                                             3       $200.00        $600.00
                                                                                                                      report.

Sali	  Hama:	  Senior	  Notice	  Program	  Manager    7/20/16                 Finalize	  implementation	  declaration.	  	  Review	  GCG	  declaration.                            2.5      $200.00        $500.00

       Shannon	  Wheatman:	  President                   7/21/16                                    Review	  implementation	  declaration.                                                 1       $500.00        $500.00

Sali	  Hama:	  Senior	  Notice	  Program	  Manager    7/21/16                         Finalize	  implementation	  declaration;	  send	  to	  client.                                 2       $200.00        $400.00

                                                                                                                                                                                                                      $5,662.50
